Case 1:23-cr-00035-RC Document 53 Filed 02/01/23 Page 1 of 7

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA
Vv.

CASEY TRYON-CASTRO,

ADAM VILLARREAL,

TROY WEEKS,

PATRICK BOURNES, and

MICAIAH JOSEPH,

Defendants.

CRIMINAL NO.

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b)
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 641, 2

(Theft of Government Property, Aiding
and Abetting)

18 U.S.C. § 1752(a)(1)

(Entering and Remining in a Restricted
Building or Grounds)

18 U.S.C. §§ 1752(a)(1) and (b)(1)(A)
(Entering and Remining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. §§ 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

18 U.S.C. §§ 1752(a)(4) and (b)(1)(A)
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

40 U.S.C. § 5104(e)(2)(E)

(Impeding Passage Through the Capitol
Grounds or Building)
Case 1:23-cr-00035-RC Document 53 Filed 02/01/23 Page 2 of 7

INDICTMENT

The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, ADAM VILLARREAL, TROY WEEKS, PATRICK BOURNES, and MICAIAH
JOSEPH, committed and attempted to commit an act to obstruct, impede, and interfere with law
enforcement officers, lawfully engaged in the lawful performance of their official duties incident
to and during the commission of a civil disorder which in any way and degree obstructed, delayed,
and adversely affected commerce and the movement of any article and commodity in commerce
and the conduct and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, ADAM VILLARREAL,
using a deadly and dangerous weapon, that is, a stick-like object, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
that is, Officer A.G., an officer with the United States Capitol Police, while such officer or
employee was engaged in and on account of the performance of official duties, and where the acts
in violation of this section involve physical contact with the victim and the intent to commit another

felony.

(Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
violation of Title 18, United States Code, Sections |11(a)(1) and (b))
Case 1:23-cr-00035-RC Document 53 Filed 02/01/23 Page 3 of 7

COUNT THREE

On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer
and employee of the United States, and of any branch of the United States Government (including
any member of the uniformed services), and any person assisting such an officer and employee,
that is, an officer from the Metropolitan Police Department, while such officer or employee was
engaged in and on account of the performance of official duties, and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, TROY WEEKS, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), and any person assisting such an officer and employee, that is, an officer
from the Metropolitan Police Department, while such officer or employee was engaged in and on
account of the performance of official duties, and where the acts in violation of this section involve

physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, CASEY TRYON-

CASTRO, did embezzle, steal, purloin, knowingly convert to her use and the use of another, and
Case 1:23-cr-00035-RC Document 53 Filed 02/01/23 Page 4 of 7

without authority, sold, conveyed and disposed of any record, voucher, money and thing of value
of the United States and any department and agency thereof, that is, a United States Capitol Police
riot shield, which has a value of less than $1,000.

(Theft of Government Property and Aiding and Abetting, in violation of Title 18,

United States Code, Sections 641 and 2)

COUNT SIX

On or about January 6, 2021, within the District of Columbia, ADAM VILLARREAL,
did embezzle, steal, purloin, knowingly convert to his use and the use of another, and without
authority, sold, conveyed and disposed of any record, voucher, money and thing of value of the
United States and any department and agency thereof, that is, a United States Capitol Police riot
shield, which has a value of less than $1,000.

(Theft of Government Property and Aiding and Abetting, in violation of Title 18,

United States Code, Sections 641 and 2)

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, MICAIAH JOSEPH, PATRICK BOURNES, and TROY WEEKS, did knowingly
enter and remain in a restricted building and grounds, that is, any posted, cordoned-off and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))
Case 1:23-cr-00035-RC Document 53 Filed 02/01/23 Page 5 of 7

COUNT EIGHT

On or about January 6, 2021, within the District of Columbia, ADAM VILLARREAL,
did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so, and, during
and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a stick-
like object.

(Entering and Remaining in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(1) and

(b)C1)(A))

COUNT NINE

On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, MICATIAH JOSEPH, PATRICK BOURNES, and TROY WEEKS did knowingly,
and with intent to impede and disrupt the orderly conduct of Government business and official
functions, engage in disorderly and disruptive conduct in and within such proximity to, a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, ADAM VILLARREAL did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
Case 1:23-cr-00035-RC Document 53 Filed 02/01/23 Page 6 of 7

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions, and during and in relation to the offense,
did use and carry a deadly and dangerous weapon, that is, a stick-like object.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a

Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Sections

1752(a)(2) and (b)(1)(A))

COUNT ELEVEN

On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, MICAIAH JOSEPH, PATRICK BOURNES, and TROY WEEKS, did knowingly
engage in any act of physical violence against any person and property in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))
Case 1:23-cr-00035-RC Document 53 Filed 02/01/23 Page 7 of 7

COUNT TWELVE

On or about January 6, 2021, within the District of Columbia, ADAM VILLARREAL,
did knowingly engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, and, during and in relation to the offense, did use and carry a deadly and
dangerous weapon, that is, a stick-like object.

(Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
Dangerous Weapon, in violation of Title 18, United States Code, Sections 1752(a)(4) and

(b)C1)(A))

COUNT THIRTEEN

On or about January 6, 2021, within the District of Columbia, CASEY TRYON-
CASTRO, ADAM VILLARREAL, MICAIAH JOSEPH, PATRICK BOURNES, and TROY
WEEKS, willfully and knowingly obstructed, and impeded passage through and within, the

United States Capitol Grounds and any of the Capitol Buildings.

(Impeding Passage Through the Capito] Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(E))

A TRUE BILL:

FOREPERSON.

Petros) brea

Attorney of the United States in
and for the District of Columbia.
